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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division



 UNITED STATES OF AMERICA                      )
                                               )
             V.                                )     Criminal No. 1:18-CR-457(AJT)
                                               )
 BIJAN RAFIEKIAN, et al.                       )
                                               )
                    Defendants.                )


                              GOVERNMENT'S WITNESS LIST


       1.    Bryan Aifredo(^® "71 - IZ- 08)*2-II^.mn.
       2.    Michael Bostoii5^7(n- ir o^-2-20p.m •
       3.    James Courtoyicrt^         lO'Ofc- |VZ^ ^
       4.    John Elliot(j0>7]]T^2l'^"2'5^,P-^'
       5.    David Enders@S^ 1 17
       6.    Jeffrey Gilday(^j^7/lU -12-^7 - t-TJ^ p.on-
       7.    Robert Kelnerff^-7//(^-p-Zd "" 5-Zl p m-
       8.    Greg Lowmai/5li)i;7(l6> -
       9.    BryanMcCauIe>^J-7|n - -52              ji OZ^^.ro
       10.   Graham Miller             - 7||7 ■■     - 5^-33 p m-
       11.   JeffreyOlson(|3^T(llf
       12.   KimRosecrans(g^^^i\^^-|0'52
                                       ' 12-31 P-^'
       13.   GrantSmith(J^-7 jlu>-S'Z^-<^:52
       14.   Kristen Verderame
       15.   IKomas
                          Gv. BN)nr\                                m
       <1. SM^ViftVia*'
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                                             Respectfully submitted,

                                             G.ZACHARY TERWILLIGER
                                             UNITED STATES ATTORNEY



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                                     Certificate of Service


        I hereby certify that on July 10, 2019,1 electronically filed the foregoing using the

 CM/ECF system, which will send a notification of such filing to counsel of record.
                                              Respectfully submitted,


                                                      /s/
                                              John T. Gibbs
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